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                                                        March 26, 2024

VIA ECF
The Honorable Louis A. Kaplan
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10022

       Re:     United States v. Bankman-Fried, 22 CR 673 (LAK)

Dear Judge Kaplan:

       The attached additional letters are respectfully submitted for the Court’s consideration in
the upcoming sentencing of Mr. Bankman-Fried on March 28, 2024.


                                                        Respectfully submitted,

                                                         /s/ Marc L. Mukasey
                                                        Marc L. Mukasey
                                                        Torrey K. Young

Cc:    All counsel (via ECF)
